Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 1 of 13 PageID# 26



                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION

SELENA N. STEWART,                           )
                                             )       CA No. 2:16-cv-531- HCM-LRL
                Plaintiff,                   )
                                             )
   vs.                                       )
                                             )       ANSWER OF DEFENDANT
RED ROBIN INTERNATIONAL, INC.,               )       RED ROBIN INTERNATIONAL, INC.
and JOHN ACOSTA,                             )
                                             )
                Defendants.                  )
                                             )

         Defendant Red Robin International, Inc. (“Red Robin”), answers and responds to Plaintiff

Selena N. Stewart’s (“Stewart”) Complaint as follows:

                                   FOR A FIRST DEFENSE

         1.     Red Robin lacks sufficient information to form a belief as to the truth of the

allegations contained in Paragraph 1 of the Complaint and, therefore, denies same.

         2.     Paragraph 2 of the Complaint is admitted.

         3.     Paragraph 3 of the Complaint is admitted.

         4.     Answering the allegations contained in Paragraph 4 of the Complaint, Red Robin

acknowledges that Stewart is alleging a cause of action pursuant to Title VII of the Civil Rights

Act. The remaining allegations contained in Paragraph 4 of the Complaint are denied.

         5.     Paragraph 5 of the Complaint sets forth legal conclusions to which no response is

required by Red Robin. To the extent a response is required, Red Robin denies the allegations of

Paragraph 5 of the Complaint.

         6.     Answering the allegations contained in Paragraph 6 of the Complaint, Red Robin

admits that it operates a restaurant in Chesapeake, Virginia and that it employs more than five



                                                 1
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 2 of 13 PageID# 27



hundred employees. The remaining allegations contained in Paragraph 6 of the Complaint are

denied.

          7.    Answering the allegations contained in Paragraph 7 of the Complaint, Red Robin

admits that Defendant John Acosta was a citizen of Virginia Beach, Virginia. Red Robin denies

any remaining allegations of Paragraph 7.

          8.    Answering the allegations contained in Paragraph 8 of the Complaint, Red Robin

admits that Stewart filed an administrative claim with the Equal Employment Opportunity

Commission (“EEOC”). Red Robin lacks sufficient information to form a belief as to the truth of

the remaining allegations contained in Paragraph 8 of the Complaint and, therefore, denies same.

          9.    Answering the allegations contained in Paragraph 9 of the Complaint, Red Robin

admits that the EEOC terminated its process of Stewart’s Charge because more than 180 days

had passed since the filing of the Charge. Red Robin further admits that Stewart was issued a

notice of right to sue on June 10, 2016. Red Robin craves reference to the EEOC Notice of Right

to Sue and denies all allegations inconsistent therewith. Red Robin denies any remaining

allegations in Paragraph 9.

          10.   Paragraph 10 of the Complaint sets forth legal conclusions to which no response

is required by Red Robin. To the extent a response is required, Red Robin denies the allegations

of Paragraph 10 of the Complaint.

          11.   Paragraph 11 of the Complaint sets forth legal conclusions to which no response

is required by Red Robin. To the extent a response is required, Red Robin denies the allegations

of Paragraph 11 of the Complaint.

          12.   Paragraph 12 of the Complaint is admitted.




                                                2
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 3 of 13 PageID# 28



       13.     Answering the allegations of Paragraph 13, Red Robin denies that it made Stewart

an Assistant Manager in 2008. Stewart was made a Manger in Training, then a Manger I, then a

Kitchen Manager in 2008.

       14.     Answering the allegations contained in Paragraph 14 of the Complaint, Red Robin

admits that Stewart voluntarily resigned in 2009, and that Stewart relocated, applied for

employment, and was rehired by Red Robin. Red Robin denies any remaining allegations

contained in Paragraph 14.

       15.     Answering the allegations contained in Paragraph 15 of the Complaint, Red Robin

admits that Stewart was rehired and worked at the Greenbrier location. Red Robin further admits

that Stewart later became the Assistant General Manager at that same location. Red Robin denies

any remaining allegations contained in Paragraph 15.

       16.     Paragraph 16 of the Complaint is admitted.

       17.     Paragraph 17 of the Complaint is denied. Red Robin craves reference to Stewart’s

performance reviews and disciplinary records and denies all allegations inconsistent with said

records.

       18.     Answering the allegations contained in Paragraph 18 of the Complaint, Red Robin

admits that in 2011 when Defendant Acosta became the Regional Operations Director of the

Greenbrier store, Stewart was the Assistant General Manager, and indirectly reported to

Defendant Acosta. Red Robin admits that Stewart began directly reporting to Defendant Acosta

in 2013 after she was made General Manager. Red Robin denies any remaining allegations

contained in Paragraph 18.

       19.     Answering the allegations contained in Paragraph 19 of the Complaint, Red Robin

admits that for the timeframe applicable to Stewart’s claims, Defendant Acosta was the Regional



                                               3
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 4 of 13 PageID# 29



Operations Director in charge of the Greenbrier store. Red Robin denies any remaining

allegations contained in Paragraph 19.

       20.     Paragraph 20 of the Complaint is denied.

       21.     Paragraph 21 of the Complaint is denied.

       22.     Paragraph 22 of the Complaint is denied.

       23.     Paragraph 23 of the Complaint is denied.

       24.     Answering the allegations of Paragraph 24 of the Complaint, Red Robin admits

that Defendant Acosta visited the restaurant where Stewart was General Manager during times

when Stewart was not present, which was dictated by Defendant Acota’s travel schedule. Red

Robin further admits that Defendant Acosta visited the restaurant where Stewart was General

Manager when she was not there in order to interview Team Members regarding complaints

made about Stewart. Red Robin denies that Defendant Acosta refused to visit Stewart’s store

when she was working. Red Robin denies any remaining allegations in Paragraph 24.

       25.     Paragraph 25 of the Complaint is denied.

       26.     Paragraph 26 of the Complaint is denied.

       27.     Answering the allegations of Paragraph 27 of the Complaint, Red Robin admits

that Stewart was required to use “auto terms,” which is a company-wide computer program used

to automatically classify an employee as “terminated” when that employee has not worked for 45

days, and in doing so, treated Stewart consistently with all similarly situated General Managers.

Stewart had many “auto term” employees due to her failure to expeditiously classify departed

employees as “terminated,” which resulted in inaccurate retention numbers for Stewart’s store.

Red Robin further admits that Stewart was required to use the corporate-approved “pro-active




                                               4
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 5 of 13 PageID# 30



unemployment forms,” and in doing so, treated her consistently with all similarly situated

General Managers. Red Robin denies any remaining allegations in Paragraph 27.

       28.     Paragraph 28 of the Complaint is denied.

       29.     Paragraph 29 of the Complaint is denied

       30.     Answering the allegations of Paragraph 30 of the Complaint, Red Robin admits

that Stewart requested permission to visit another restaurant with Defendant Acosta. Defendant

Acosta acquiesced and took Stewart to visit the restaurant located in Red Mill Commons. Red

Robin denies any remaining allegations in Paragraph 30.

       31.     Answering the allegations of Paragraph 31, Red Robin admits that Defendant

Acosta took the Assistant General Manager of Stewart’s store on a restaurant visit. Defendant

Acosta also took Stewart on a restaurant visit located in Red Mill Commons. Red Robin denies

any remaining allegations in Paragraph 31.

       32.     Answering the allegations of Paragraph 32 of the Complaint, Red Robin admits

that during its corporate annual training conference it offered a “Women in Leadership” class to

all female managers. Red Robin denies any remaining allegations in Paragraph 32.

       33.     Paragraph 33 of the Complaint is denied.

       34.     Paragraph 34 of the Complaint is denied.

       35.     Answering the allegations of Paragraph 35 of the Complaint, Red Robin admits

that Stewart was placed on a Performance Improvement Plan (“PIP”), which required improved

performance in identified areas where Stewart’s performance and development were deemed

deficient. Red Robin specifically denies that the PIP was retaliatory. Red Robin denies the

remaining allegations of Paragraph 35.

       36.     Paragraph 36 of the Complaint is denied.



                                               5
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 6 of 13 PageID# 31



       37.     Red Robin lacks sufficient information to form a belief as to the truth of the

allegations contained in Paragraph 37 of the Complaint and, therefore, denies same.

       38.     Red Robin lacks sufficient information to form a belief as to the truth of the

allegations contained in Paragraph 38 of the Complaint and, therefore, denies same.

       39.     Answering the allegations of Paragraph 39 of the Complaint, Red Robin admits

that sometimes an activity is conducted at the beginning of a Team Leader Focus Group

(“TLFG”) functions; however, it is not done every time and usually occurs when the participants

do not know each other.. Red Robin denies the remaining allegations of Paragraph 39.

       40.     Answering the allegations of Paragraph 40 of the Complaint, Red Robin admits

that the TLFG functions encompass a constructive feedback component that allows General

Managers to assist one another, and that any such feedback given to Stewart was consistent with

these practices and was not done differently or adversely because of Stewart’s gender. Red

Robin specifically denies that this constructive feedback was retaliatory or discriminatory. Red

Robin denies the remaining allegations of Paragraph 40.

       41.     Answering the allegations of Paragraph 41, upon information and belief, Red

Robin admits that Stewart attended TLFG functions hosted by other managers. Red Robin denies

the remaining allegations of Paragraph 41.

       42.     Paragraph 42 of the Complaint is denied.

       43.     Paragraph 43 of the Complaint is denied.

       44.     Answering the allegations of Paragraph 44 of the Complaint, Red Robin admits

that Stewart was placed on a PIP in June of 2015 due to repeated and continued legitimate

performance deficiencies, despite being given ample opportunity to improve. Red Robin further




                                               6
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 7 of 13 PageID# 32



admits the PIP was issued by Defendant Acosta and Human Resources representative, Julie

London Brewer. Red Robin denies the remaining allegations of Paragraph 44.

       45.     Answering the allegations of Paragraph 45 of the Complaint, Red Robin admits

that Stewart made unsubstantiated and generalized complaints about Defendant Acosta for the

first time after she was placed on the PIP for her legitimate performance deficiencies. Red Robin

denies the remaining allegations of Paragraph 45.

       46.     Answering the allegations of Paragraph 46 of the Complaint, Red Robin admits it

did not make any changes to the PIP. Red Robin denies the remaining allegations of Paragraph

46.

       47.     Answering the allegations of Paragraph 47 of the Complaint, Red Robin admits

that Stewart was terminated in November of 2015 for, among other things, failing to follow

Company policy, including the use of corporate mandated forms and systems. Red Robin denies

any insinuation that Stewart’s termination was unlawful. Red Robin denies the remaining

allegations of Paragraph 47.

       48.     Paragraph 48 of the Complaint is denied.

       49.     Paragraph 49 of the Complaint is denied.

       50.     Paragraph 50 of the Complaint is denied.

       51.     With respect to Paragraph 51 of the Complaint, Red Robin incorporates each and

every allegation of Red Robin’s Answer to the same extent as if set forth verbatim.

       52.     Paragraph 52 of the Complaint sets forth a legal conclusion to which no response

is required by Red Robin. To the extent a response is required, Red Robin denies the allegations

of Paragraph 52 of the Complaint

       53.     Paragraph 53 of the Complaint is denied.



                                                7
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 8 of 13 PageID# 33



       54.     Answering the allegations of Paragraph 54 of the Complaint, Red Robin admits

Stewart was terminated for performance-related issues. Red Robin denies the remaining

allegations of Paragraph 54.

       55.     Paragraph 55 of the Complaint is denied.

       56.     With respect to Paragraph 56 of the Complaint, Red Robin incorporates each and

every allegation of Red Robin’s Answer to the same extent as if set forth verbatim.

       57.     Paragraph 57 of the Complaint is denied.

       58.     Paragraph 58 of the Complaint is denied.

       59.     Paragraph 59 of the Complaint is denied.

       60.     Paragraph 60 of the Complaint is denied.

       Responding to the final, unnumbered paragraph of the Complaint, including subparts (a)

through (f), containing Stewart’s Prayer for Relief, Red Robin denies that Stewart is entitled to

any relief whatsoever.

                                 FOR A SECOND DEFENSE

       61.     All paragraphs and allegations not herein specifically admitted are denied.

                                  FOR A THIRD DEFENSE

       62.     Stewart fails to state a claim upon which relief may be grated, and such claims

should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6).

                                 FOR A FOURTH DEFENSE

       63.     To the extent Stewart is asserting claims outside the scope of her administrative

charge of discrimination, Stewart has failed to exhaust her administrative remedies and such

claims should be dismissed as a matter of law.




                                                 8
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 9 of 13 PageID# 34



                                   FOR A FIFTH DEFENSE

        64.    Stewart’s Title VII claims for alleged actions or conduct that pre-date January 14,

2015, are time-barred because Stewart did not file her Charge of Discrimination until November

9, 2015. As such, Stewart failed to exhaust her administrative remedies as to these allegations,

and these claims should be dismissed as a matter of law.

                                   FOR A SIXTH DEFENSE

        65.    Upon information and belief, Stewart’s claims are barred by the applicable statute of

limitations.

                                 FOR A SEVENTH DEFENSE

        66.    Stewart’s claims, in whole or in part, are barred because she unreasonably failed

to complain and/or otherwise take advantage of any protective or corrective opportunity provided

by Red Robin or to avoid harm otherwise.

                                 FOR AN EIGHTH DEFENSE

        67.    Red Robin may not be held vicariously liable under Title VII based on any alleged

unlawful employment actions of its agents, if any are proven, because Red Robin exercised

reasonable care to prevent and correct promptly any unlawful actions and Stewart unreasonably

failed to take advantage of any preventive or corrective opportunities provided by Red Robin or to

avoid harm otherwise.

                                  FOR A NINTH DEFENSE

        68.    Red Robin has taken reasonable steps to prevent and promptly correct any

discrimination and harassment from occurring in the workplace.




                                                 9
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 10 of 13 PageID# 35



                                    FOR A TENTH DEFENSE

       69.       Stewart cannot establish that her gender was the motivating factor in any alleged

discrimination under Title VII and, therefore, her claims must fail.

                                FOR AN ELEVENTH DEFENSE

       70.       Stewart’s claims fail because she was discharged for legitimate, non-

discriminatory and non-retaliatory reasons.

                                  FOR A TWELFTH DEFENSE

       71.       Stewart was an at-will employee who could be terminated at any time with or

without cause.

                                FOR A THIRTEENTH DEFENSE

       72.       Stewart was not adequately performing her job at a level that met Red Robin’s

legitimate expectation.

                               FOR A FOURTEENTH DEFENSE

       73.       Stewart’s claim for tortious interference with a contract fails as a matter of law

and should be dismissed because she was an at-will employee.

                                 FOR A FIFTEENTH DEFENSE

       74.       To the extent Stewart is seeking damages for emotional pain and stress, her claim

is barred as Stewart’s exclusive remedy is the Virginia Workers Compensation Act pursuant to

VA. CODE ANN. § 65.2-307.

                                 FOR A SIXTEENTH DEFENSE

       75.       To the extent Stewart has suffered any damages as a result of any act or omission

by Red Robin, which is denied, then, upon information and belief, Stewart failed to mitigate

damages in a timely or proper fashion.



                                                 10
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 11 of 13 PageID# 36



                              FOR A SEVENTEENTH DEFENSE

       76.     Without admitting any wrongful conduct, Red Robin asserts that Stewart’s

damages, if any, should be offset by any subsequent earnings obtained by Stewart. Likewise, to

the extent Stewart has failed to mitigate her damages, if any, Stewart’s recovery of damages is

barred, or alternatively, should be reduced.

                              FOR AN EIGHTEENTH DEFENSE

       77.     Stewart’s claims are barred, in whole or in part, by the doctrines of waiver,

estoppel and unclean hands.

                               FOR A NINTEENTH DEFENSE

       78.     Any claim for punitive damages is barred because the acts and omissions, if any,

of Red Robin do not rise to the level required to sustain an award of punitive damages, do not

evince a reckless or callous indifference to any protected right, and are not so wanton and willful

as to support an award of punitive damages as a matter of law.

                               FOR A TWENTIETH DEFENSE

       79.     Any recovery on Stewart’s Complaint may be barred, in whole or in part, based

upon after-acquired evidence that may be discovered during the course of litigation.

                              FOR A TWENTY-FIRST DEFENSE

       80.     Red Robin has not had an opportunity to conduct a sufficient investigation or to

engage in adequate discovery regarding the circumstances of Stewart’s allegations. Red Robin

intends to act as best it can to inform itself of the pertinent facts and prevailing circumstances

surrounding any injury or damage to Stewart as alleged in the Complaint and gives notice of its

intent to assert any further affirmative defenses that its information-gathering process may

indicate as supported by fact and/or law.



                                                11
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 12 of 13 PageID# 37



                              FOR A TWENTY-SECOND DEFENSE

       81.     Red Robin reserves the right to assert further affirmative defenses upon discovery of

facts not previously known.

       THEREFORE, having fully answered, Red Robin prays that Stewart’s Complaint be

dismissed with costs and attorney fees awarded to Red Robin.



                                                     Respectfully submitted,

                                                     FISHER & PHILLIPS LLP


                                             By:     /s/Cheryl L. Behymer
                                                     Cheryl L. Behymer (VA Bar No. 37271)
                                                     cbehymer@fisherphillips.com
                                                     Fisher & Phillips LLP
                                                     Post Office Box 11612
                                                     Columbia, South Carolina 29211
                                                     Telephone: (803) 255-0000
                                                     Facsimile: (803) 255-0202

                                                     Counsel for Defendant Red Robin
                                                     International, Inc.
Dated this 3rd day of October 2016.




                                                12
FPDOCS 32233890.1
Case 2:16-cv-00531-HCM-RJK Document 5 Filed 10/03/16 Page 13 of 13 PageID# 38



                                 CERTIFICATE OF SERVICE

       I, Cheryl L. Behymer, counsel for Defendants herein, do hereby certify that on October 3,

2016, I electronically filed the foregoing Answer of Defendant Red Robin International, Inc.

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all counsel of record as follows:

                                   Gregory William Klein, Esq.
                                     TAYLOR WALKER P.C.
                                    555 Main Street, Suite 1300
                                        Norfolk, VA 23510
                                   gklein@taylorwalkerlaw.com
                                       Attorney for Plaintiff


                                                s/Cheryl L. Behymer
                                                Cheryl L. Behymer (VA Bar No. 37271)
                                                FISHER & PHILLIPS LLP
                                                1320 Main Street, Suite 750
                                                Columbia, South Carolina 29201
                                                Phone: (803) 255-0000
                                                Fax: (803) 255-0202
                                                cbehymer@fisherphillips.com
                                                Counsel for Defendants

Dated this 3rd day of October 2016.




                                               13
FPDOCS 32233890.1
